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Tariq Ahmad DEC 28 202
3550 Barron Way Suite 13a
Reno, NV 89511 CLERK US DISTRICT COURT
Plaintiff Pro Se DISTRICT OF NEVADA
BY: =PEPUTY
UNITED STATES DISTRICT COURT a
DISTRICT OF NEVADA. ,_.
Mocelnt # V :
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Tariq Ahmad,
Plaintiff,
Case = 3:20-cv-00717
Graco Fishing & Tools Inc. and Does 1-10
COMPLAINT FOR
inclusive
FRAUD
Defendants.
COMMERICAL BRIBERY
JURY DEMAND

 

 

 

 

Plaintiff Tariq Ahmad (“Ahmad”) files his complaint against defendants listed below and|

alleges as follows:

Parties and Jurisdiction

1. Plaintiff is a resident of the State of Nevada.

2. Pacific Energy & Mining Co., (“Pacific”) is a Nevada Corporation.

3. Defendant Jim Fulkerson (“Fulkerson”) is a resident of the State of Utah.
4. Graco Fishing & Rental Tools Inc. (“Graco”) is a Texas Corporation.

5. Plaintiff does not know the true names or capacities of the defendants sued
herein as DOES 1 through 10; therefore, Plaintiff sues said defendants by such fictitious names,

and prays leave that when the true names of said defendants are ascertained, they may be

 
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inserted with appropriate allegations. Plaintiff is informed and believes, and upon such
information and belief, allege that each of the defendants designated herein by such fictitious
names is responsible in some manner for the events and happenings hereinafter referred to and
that such conduct of said defendants caused injury and damages proximately thereby to
Plaintiff. Upon learning the true names and identities of DOES 1 through 10, Plaintiff will seek
leave of court to amend this Claim.

6. At all times relevant herein, defendants, and each of them, were the agents and
employees of each of the remaining defendants, and were at all times acting within the course
and scope of said agency and employment, and each defendant has ratified and approved the
acts of the other. Therefore, each defendant is liable for the acts of each remaining third party
defendant/cross-defendant.

7. That the conduct of each and every defendant ratified and adopted by each and
every other defendant in this action.

8. The corporate defendants, and each of them, were acting by and through their
authorized employees, agents, and/or representatives, who were acting within the scope and
course of said capacity, and whose conduct was ratified by each of said third party defendants.

9. That Graco was contracted to perform work on the Well known as the
Greentown Federal 26-43H, located in Grand County, Utah ("The Well").

10. _—— Plaintiff is the President of Pacific.

11. Plaintiff has an interest in the Well.

12. Defendant Fulkerson on behalf of Graco had submitted a fixed price bid to
Pacific.

13. Fulkerson confirmed the fixed price bid to Pacific and others.

14. Graco caused a breach of the Well operated by Pacific.

15. At the time the breach was made Fulkerson was the supervisor and employee of

Graco.

 
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16. | Fulkerson informed Ahmad and other that the “breach” was caused by the
actions of Graco.

17. Immediately after the breach, Graco terminated employment of Fulkerson.

18. Sometime after the termination of Fulkerson, Graco make a payment of
monetary value to Fulkerson to change his factual bases of the breach and the fixed price bid.

19. Due to the bribe given by Graco to Fulkerson and others, Graco was able to
receive a judgment against Pacific and Ahmad for unpaid invoices and was able to dodge the
liability of causing the breach,

JURISDICTION

20. This Court has subject matter jurisdiction in this action pursuant to 28 USC
§1332 because there is complete diversity of citizenship and the amount in controversy exceeds
$75,000.00.

VENUE

21. Venue is proper in this jurisdiction under 28 USC §1391(b)(2), the subject
events complained of occurred affected Plaintiff who is a resident of the State of Nevada. Each
of the defendants sued herein, whether designated by a real or a fictitious name, was and is the

agent, servant, employee and hireling of each other.

FIRST CAUSE OF ACTION
FRAUD

22. Plaintiff incorporates herein by reference, as fully restated, each and every
allegation contained in all paragraphs of this complaint.
23. Defendant Fulkerson knowingly and with malicious intent changed the factual

basis of the breach in the Well after receiving a monetary benefit from Graco and others..

 
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24. Defendant Fulkerson knew that receiving a bribe to change the factual basis of
the fixed price bid in reference to Well breach was and is illegal and was material to the fixed
price bid and damage caused to the Well.

25. Due to the actions of Defendant Fulkerson and others Plaintiff was damaged.

26. Damages to Plaintiff exceed the minimum jurisdiction of this court and will be
proven at trial.

SECOND CLAIM FOR
RELIEF BRIBERY

27. Plaintiff incorporates herein by reference as if fully restated, each and every
allegation contained in all paragraphs of this complaint.

28. Defendant Fulkerson received a bribe from Graco and others in order to change
the facts on the fixed bid contract and the cause of the breach

29. Based upon the bribe Defendant Fulkerson gave false testimony.

30. Defendant’s false testimony resulted in a judgement against plaintiff.

31. Damages to Plaintiff exceed the minim amount for jurisdiction of this court.

PRAYER FOR RELIEF

1. For general damages according to proof at trial, trebled according to statute.
2. Pre judgement interest according to statute; and

3. For general damages according to statute; and

4. Punitive damages

For such other legal and equitable relief as the Court may deem Plaintiff is entitled to

receiver.

 
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DATED: December 24 2020

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